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   UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


  UNITED STATES OF AMERICA                          §
                                                    §
  versus                                            §           CASE NO. 4:14-CR-129(4)
                                                    §
  NICKY JOE HIGNIGHT                                §

                                  MEMORANDUM AND ORDER

           Pending before the court is Defendant Nicky Joe Hignight’s (“Hignight”) pro se Motion

  for Compassionate Release (#215), wherein he requests, for the second time, that the court release

  him from imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A) due to his health problems, age,

  and the threat of Coronavirus Disease 2019 (“COVID-19”).1 The Government filed a response

  in opposition (#218), and Hignight filed a reply (#220). United States Pretrial and Probation

  Services (“Probation”) submitted an updated report, which recommends the denial of Hignight’s

  motion. Having considered the motion, the Government’s response, Hignight’s reply, Probation’s

  recommendation, the record, and the applicable law, the court is of the opinion that the motion

  should be denied.

  I.       Compassionate Release Reconsideration

           When a defendant moves for compassionate release, he must establish three criteria.

  United States v. Shkambi, 993 F.3d 388, 392 (5th Cir. 2021). First, he must meet one of two

  conditions listed in § 3582(c)(1)(A)—either the defendant has extraordinary and compelling

  reasons that warrant a reduction under 18 U.S.C. § 3582(c)(1)(A)(i) or the defendant is at least

  70 years of age, has served at least 30 years in prison, and meets the additional requirements of


           1
            Hignight initially filed a Motion for Compassionate Release (#206) on August 17, 2020, which
  the court denied on September 30, 2020 (#213). Accordingly, the court will construe Hignight’s present
  motion as a motion for reconsideration of the court’s September 30, 2020, Order.
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  18 U.S.C. § 3582(c)(1)(A)(ii). Id. at 391. Second, the defendant “must show that compassionate

  release is consistent with the applicable policy statements from the [United States Sentencing

  Commission (“Commission”)].” Id. at 392. Third, the defendant “must convince the district

  judge to exercise discretion to grant the motion after considering the § 3553(a) factors.”2 Id.;

  accord United States v. Keys, 846 F. App’x 275, 276 (5th Cir. 2021); United States v. Cooper,

  996 F.3d 283, 287 (5th Cir. 2021).

          In his initial motion for compassionate release, Hignight, age 61, asserted that

  extraordinary and compelling reasons for his release existed due to his medical condition, family

  circumstances, and the danger posed by COVID-19. In its Order, dated September 30, 2021

  (#213), the court considered Hignight’s medical condition, age, family circumstances, and the

  threat of COVID-19 and determined that his circumstances did not constitute an extraordinary and

  compelling reason warranting his early release from prison. The United States Court of Appeals

  for the Fifth Circuit subsequently held in Shkambi that when a defendant files a motion for

  compassionate release on his own behalf, the Sentencing Commission’s policy statement in

  § 1B1.13 is not applicable because that policy statement governs only motions filed by the Director

  of the BOP. 993 F.3d at 392; Cooper, 996 F.3d at 287-88. Nevertheless, while recognizing that

  they are not binding, the court views the Commission’s policy statement contained in § 1B1.13



          2
            Section 3553(a) directs courts to consider: the nature and circumstances of the offense and the
  defendant’s history and characteristics; the need to reflect the seriousness of the offense, to promote
  respect for the law, and to provide just punishment for the offense; the need to deter criminal conduct; the
  need to protect the public; the need to provide the defendant with needed educational or vocational training,
  medical care, or other correctional treatment in the most effective manner; the kinds of sentences and
  sentencing ranges established for defendants with similar characteristics under applicable United States
  Sentencing Guideline (“U.S.S.G.”) provisions and policy statements; any pertinent policy statement of the
  Commission in effect on the date of sentencing; the need to avoid unwarranted disparities among similar
  defendants; and the need to provide restitution to the victim. 18 U.S.C. § 3553(a).

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  and the commentary thereto as providing guidance regarding the types of reasons that may be

  deemed sufficiently “extraordinary and compelling” to warrant compassionate release. See United

  States v. Thompson, 984 F.3d 431, 433 (5th Cir. 2021) (“Although not dispositive, the

  commentary to § 1B1.13 informs [the court’s] analysis as to what reasons may be sufficiently

  ‘extraordinary and compelling’ to merit compassionate release.”); United States v. Rivas, 833 F.

  App’x 556, 558 (5th Cir. 2020) (upholding denial of compassionate release and recognizing that

  the court was guided in its analysis by the commentary to U.S.S.G. § 1B1.13).                 Upon

  reconsideration, the court again finds that Hignight’s medical condition, age, and the risk posed

  by COVID-19 do not suffice.

         A.      Medical Condition

         In his present motion, Hignight asserts that he suffers from “COPD, High Cholesterol,

  Depression, Hypertension, Asthma, and [Obesity],” in addition to being “a smoker for 35 years

  (1 pack a day).” Although not binding on the court, § 1B1.13 suggests that extraordinary and

  compelling reasons exist regarding a defendant’s medical condition when the defendant is

  “suffering from a terminal illness (i.e., a serious and advanced illness with an end of life

  trajectory)” or when a defendant is “suffering from a serious physical or medical condition,”

  “suffering from a serious functional or cognitive impairment,” or “experiencing deteriorating

  physical or mental health because of the aging process, that substantially diminishes the ability of

  the defendant to provide self-care within the environment of a correctional facility and from which

  he or she is not expected to recover.” U.S.S.G. § 1B1.13 cmt. n.1(A).

         Here, when interviewed in connection with his Presentence Investigation Report (“PSR”),

  prepared on August 7, 2015, and revised on October 15, 2015, Hignight reported that he suffered


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  from hemorrhoids, borderline diabetes, prostate problems, arthritis, hypertension, and back pain,

  but that he was only taking medication for his arthritis. According to Hignight’s BOP medical

  records, he has been diagnosed with obesity, hyperlipidemia, major depressive disorder,

  mononeuropathy of lower limb, hypertension, chronic obstructive pulmonary disease (“COPD”),

  asthma, gastro-esophageal reflux disease, and an enlarged prostate with lower urinary tract

  symptoms. He is prescribed amlodipine and aspirin to control his hypertension; fluticasone, a

  mometasone furoate inhaler, and an albuterol inhaler to treat his asthma and COPD; atorvastatin

  for his hyperlipidemia; meloxicam to aid with his lower back pain; omeprazole for his acid reflux;

  tamsulosin and terazosin to treat his enlarged prostate; and venlafaxine to assist with his major

  depressive disorder. At the time of his PSR, Hignight was 5 feet, 8 inches tall and weighed 230

  pounds, giving him a body mass index (“BMI”) of 35, which indicates that he was obese.3

  Hignight’s medical records reflect that he weighed 236 pounds on April 6, 2021, giving him a

  BMI of 35.1, confirming that he remains obese.

         A medical note dated April 8, 2020, indicates that Hignight’s hypertension, dyslipidemia,

  prostate problems, acid reflux, mental health issues, orthopedic problems, and asthma were “at

  goal.” In his motion, Hignight claims that since he contracted COVID-19, he has “experienced

  severe diabetes, high blood pressure, and respiratory problems.” Hignight was diagnosed with

  COVID-19 on November 19, 2020, and as of December 16, 2020, had recovered from the virus.

  Hignight has not been diagnosed with diabetes, and, as of April 22, 2021, had an A1c level of




         3
          According to the Centers for Disease Control and Prevention (“CDC”), a BMI below 18.5 is
  underweight, a BMI between 18.5 and 24.9 is normal, a BMI between 25 and 29.9 is overweight, and a
  BMI of 30 or above is obese.

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  5.3%, indicating that he is not diabetic.4 Further, Hignight’s most recent blood pressure readings

  of 134/81 on August 6, 2021, and 137/86 on June 3, 2021, suggest that he is “at risk” of having

  high blood pressure.5 Although Hignight now attributes his respiratory problems to COVID-19,

  on February 4, 2021, he informed medical staff that “[t]he dust in [the SHU] is worse than the

  housing unit. It is messing with asthma and making it hard to breathe.” Moreover, on May 24,

  2021, Dandan He, M.D., noted that Hignight “state[s] he takes [breathing treatments] 2-3 times

  a week and [they] really help[.]”

          Furthermore, Hignight is classified as a BOP Medical Care Level 2 inmate. According

  to the BOP’s Clinical Practice Guidance, dated May 2019, Care Level 2 inmates “are stable

  outpatients who require clinician evaluations monthly to every 6 months. Their medical and

  mental health conditions can be managed through routine, regularly scheduled appointments with

  clinicians for monitoring. Enhanced medical resources, such as consultation or evaluation by

  medical specialists, may be required from time to time.”

          None of Hignight’s medical problems are terminal or substantially diminish his ability to

  provide self-care, nor do they otherwise present extraordinary and compelling reasons justifying

  compassionate release. See Thompson, 984 F.3d at 433. To the contrary, Hignight’s afflictions

  are well managed with medication. See id. The court acknowledges that, according to the CDC

  website, some of Hignight’s underlying medical conditions—specifically, COPD, asthma,


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           A hemoglobin A1c test is a method for measuring blood sugar. According to the CDC, a normal
  A1c level is below 5.7%, a level of 5.7% to 6.4% indicates prediabetes, and a level of 6.5% or more
  denotes diabetes.
          5
           According to the CDC, a “Normal” systolic level is less than 120 mm Hg with a diastolic of less
  than 80 mm Hg; the “At Risk” systolic range is 120 to 139 mm Hg with a diastolic range of 80 to 89 mm
  Hg; and a “High Blood Pressure” systolic level is 140 mm Hg or higher with a diastolic of 90 mm Hg or
  higher.

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  hypertension, and obesity—can make him more likely to become severely ill should he again

  contract COVID-19; nonetheless, such commonplace maladies do not make Hignight’s case

  “extraordinary.” See id. at 434.

         According to the CDC, 45% of adults in the United States (108 million) have hypertension,

  and of those, only about 24% have their condition under control. Moreover, the CDC reports that

  42.5% of the adult population in the United States is obese, more than 12% (29 million) has high

  cholesterol, 7.7% has asthma, and 6.4% has COPD. Due to their prevalence, hypertension,

  hyperlipidemia, obesity, asthma, and COPD cannot be deemed “extraordinary” in order to merit

  compassionate release. See id. (noting that neither hypertension nor high cholesterol made the

  defendant’s case “extraordinary” because “nearly half of the adult population in the United States

  suffers from hypertension” and “roughly 12% of Americans suffer from high cholesterol”);

  United States v. Harmon, 834 F. App’x 101, 101 (5th Cir. 2021) (affirming denial of

  compassionate release to a 52-year-old woman who was obese with a body mass index of 36);

  United States v. Thompson, No. 3:18-CR-0573-B-11, 2021 WL 1966847, at *3 (N.D. Tex. May

  17, 2021) (finding that a defendant’s asthma, which was treated with an albuterol inhaler, did not

  rise to the level of extraordinary and compelling circumstances warranting compassionate release);

  United States v. Holley, No. 4:15-CR-265-4, 2021 WL 1581557, at *3 (S.D. Tex. Apr. 22, 2021)

  (denying compassionate release where the 28-year-old defendant claimed he had an increased risk

  of serious illness resulting from COVID-19 due to his asthma); United States v. Hodgin, No.

  4:15-CR-40110-02-KES, 2021 WL 928179, at *3 (D.S.D. Mar. 11, 2021) (denying compassionate

  release to inmate who suffers from hypertension, hyperlipidemia, arthritis, kidney disease, Type

  2 diabetes, and several other medical conditions); United States v. Slone, No. 7:12-05-KKC-4,


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  2021 WL 164553, at *1 (E.D. Ky. Jan. 19, 2021) (holding that inmate who suffered from heart

  disease (for which he had a stent), chronic obstructive pulmonary disease (COPD), high

  cholesterol, obesity, and depression had not established extraordinary and compelling reasons for

  compassionate release as his condition was not terminal and did not diminish his ability to provide

  self-care within the prison environment); United States v. Grant, No. 16-00172-01, 2021 WL

  149308, at *4 (W.D. La. January 15, 2021) (noting that “while obesity is an underlying medical

  condition that poses increased risk of severe illness from COVID-19, courts have found that

  obesity—alone or even paired with other medical conditions—does not provide adequate grounds

  for compassionate release”); United States v. Sentimore, No. 04-382, 2020 WL 7630778, at *2

  (E.D. La. Dec. 22, 2020) (finding that defendant’s morbid obesity did not rise to the level of an

  extraordinary and compelling circumstance that would justify his early release); United States v.

  Kroger, No. 213CR00232JADVCF2, 2020 WL 5944421, at *2 (D. Nev. Oct. 7, 2020) (holding

  that the defendant’s COPD did not constitute an extraordinary and compelling reason for

  compassionate release); United States v. Durham, No. 3:18-cr-251-MOC-DCK-1, 2020 WL

  5577884, at *2 (W.D.N.C. Sept. 17, 2020) (finding the fact that the defendant has hypertension,

  a condition that may increase his risk for severe illness from COVID-19, without more, does not

  present an “extraordinary and compelling reason” for compassionate release); United States v.

  Murphy, No. CR H-17-127, 2020 WL 5573262, at *3 (S.D. Tex. Sept. 17, 2020) (finding that

  the defendant had not established extraordinary and compelling circumstances when his “medical

  records demonstrate that he is receiving regular medical care and treatment for his COPD, and

  current conditions at [the facility where he is housed] do not create an elevated risk of his

  contracting COVID-19”); United States v. Wilson, No. 2:18cr132, 2020 WL 4901714, at *5


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  (W.D. Wash. Aug. 20, 2020) (rejecting the notion that inmate’s hypertension claim was sufficient

  to justify early termination of sentence); United States v. Pagan Zapata, No. 3:18-CR235-S, 2020

  WL 4464660, at *1 (N.D. Tex. Aug. 3, 2020) (finding that the defendant’s long term asthma,

  which was being treated with an inhaler, did not merit compassionate release); United States v.

  Gordon, No. 15-20609, 2020 WL 3971013, at *3 (E.D. Mich. July 14, 2020) (denying

  compassionate release to an obese defendant, reasoning that because “42.4% of American adults

  are obese and [an] additional 32% are overweight,” obesity “is not a condition so [extraordinary]

  that injustice would result if the relief is not granted”).

         In his motion, Hignight claims that he has “been a smoker for 35 years (1 pack a day).”

  The court recognizes that Hignight’s history of smoking, according to the CDC website, can make

  him more likely to become severely ill should he contract COVID-19. Nevertheless, the CDC

  reports that 14% of all adults in the United States (34.1 million) currently smoke cigarettes.

  Additionally, the CDC observes that “[q]uitting smoking cuts cardiovascular risks” and “1 year

  after quitting smoking, [a person’s] risk for a heart attack drops sharply.” Moreover, “[w]ithin

  2 to 5 years after quitting smoking, [a person’s] risk for stroke may reduce to about that of a

  nonsmoker’s.” Hence, having such a commonplace affliction does not make Hignight’s case

  “extraordinary.”     Therefore, having a history of smoking is not sufficient to warrant

  compassionate release. See United States v. Ramsey, No. 2:14-CR-00296, 2021 WL 534470, at

  *5 (E.D. Pa. Feb. 12, 2021) (denying compassionate release to an inmate who had a history of

  smoking and hypertension); United States v. Jones, No. CR 02-0778, 2020 WL 7640944, at *3

  (E.D. Pa. Dec. 23, 2020) (finding that a history of smoking did not warrant compassionate release

  where the defendant provided “no detail regarding his tobacco usage” and presented “no ailments


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  associated with smoking and has been in federal prison since 2011, where smoking is banned”);

  United States v. Brady, No. CR 19-054-JJM-LDA, 2020 WL 7323366, at *3 (D.R.I. Dec. 11,

  2020) (noting that “smoking history alone is not sufficient for this Court to find extraordinary and

  compelling grounds for release”).

         In this instance, Hignight’s BOP records reveal that he is housed in general population, is

  ambulatory, is cleared for food service, and his most recent work assignment was as a kitchen

  helper. According to Probation, he is able to provide self-care in the institutional setting and is

  not limited in his activities of daily living. Thus, Hignight has failed to establish that his medical

  condition constitutes an extraordinary and compelling reason to reduce his sentence.

         B.      Age

         Hignight asserts that he is eligible for compassionate release due to his age. While not

  binding on the court, the U.S.S.G. provides that extraordinary and compelling reasons exist as to

  a defendant’s age when:

         [t]he defendant (i) is at least 65 years old; (ii) is experiencing a serious
         deterioration in physical or mental health because of the aging process; and (iii) has
         served at least 10 years or 75 percent of his or her term of imprisonment,
         whichever is less.

  U.S.S.G. § 1B1.13 cmt. n.1(B). Here, according to Hignight’s PSR, he is 61 years of age.

  Further, as discussed above, there is no indication that he is experiencing serious deterioration in

  his physical or mental health. Moreover, as of the date of his motion, Hignight had served 69

  months of his 262-month sentence (or 26%).

         According to the Administration on Aging, the population of persons in the United States

  over the age of 60 was 68.7 million in 2016, a 36% increase from 50.7 million in 2006, and was

  projected to increase substantially over the following decade. Hence, Hignight’s age cannot be

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   deemed extraordinary. Therefore, the court does not find that Hignight’s age constitutes an

   extraordinary and compelling reason justifying compassionate release.

          As an alternative to finding “extraordinary and compelling reasons,” 18 U.S.C.

   § 3582(c)(1)(A)(ii) allows modification of a term of imprisonment for age-related reasons when:

          the defendant is at least 70 years of age, has served at least 30 years in prison,
          pursuant to a sentence imposed under section 3559(c), for the offense or offenses
          for which the defendant is currently imprisoned, and a determination has been
          made by the Director of the Bureau of Prisons that the defendant is not a danger to
          the safety of any other person or the community as provided under section 3142(g).

   18 U.S.C. § 3582(c)(1)(A)(ii). Here, Hignight is only 61 years of age, which is less than the

   stated minimum age of 70. Moreover, Hignight has not served at least 30 years in prison, and it

   does not appear that his sentence was imposed pursuant to § 3559(c). Accordingly, Hignight also

   does not meet the statutory requirements for age-related compassionate release set forth in 18

   U.S.C. § 3582(c)(1)(A)(ii).

          C.     COVID-19

          Hignight also expresses concerns regarding the spread of COVID-19 among the prison

   population. Nevertheless, as of November 12, 2021, the figures available at www.bop.gov list

   0 inmates (out of a total inmate population of 1,146) and 2 staff members at Federal Correctional

   Institution Texarkana (“FCI Texarkana”), the facility in which Hignight is housed, as having

   confirmed positive cases of COVID-19, 662 inmates and 113 staff members who have recovered,

   and 2 inmates who succumbed to the disease. Indeed, according to Hignight’s medical records,

   he tested positive for the disease, received treatment, and recovered from the virus. Thus, it

   appears that the facility where Hignight is housed is handling the outbreak appropriately and

   providing adequate medical care.


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          Although Hignight expresses legitimate concerns regarding COVID-19, he does not

   establish that the BOP cannot manage the outbreak within his correctional facility or that the

   facility is specifically unable to treat Hignight, if he were to contract the virus once again and

   develop COVID-19 symptoms, while incarcerated. See Thompson, 984 F.3d at 435 (“Fear of

   COVID doesn’t automatically entitle a prisoner to release.”); United States v. Raia, 954 F.3d 594,

   597 (3d Cir. 2020) (“[T]he mere existence of COVID-19 in society and the possibility that it may

   spread to a particular prison alone cannot independently justify compassionate release, especially

   considering BOP’s statutory role, and its extensive and professional efforts to curtail the virus’s

   spread.”); United States v. Banks, No. CR 15-0080-02, 2020 WL 6839267, at *4 (W.D. La. Nov.

   20, 2020) (“This Court cannot equate the generalized fear of COVID-19 to an extraordinary and

   compelling reason to support compassionate release, nor will it undermine BOP’s criteria to

   determine eligibility for sentence reductions or home confinement.”); United States v. Vasquez,

   No. CR 2:18-1282-S-1, 2020 WL 3000709, at *3 (S.D. Tex. June 2, 2020) (“General concerns

   about the spread of COVID-19 or the mere fear of contracting an illness in prison are insufficient

   grounds to establish the extraordinary and compelling reasons necessary to reduce a sentence.”

   (quoting United States v. Koons, 455 F. Supp. 3d 285, 292 (W.D. La. 2020))); United States v.

   Clark, 451 F. Supp. 3d 651, 656 (M.D. La. 2020) (finding the defendant had failed to present

   extraordinary and compelling reasons to modify his prison sentence because he “does not meet any

   of the criteria set forth by the statute” and he “cites no authority for the proposition that the fear

   of contracting a communicable disease warrants a sentence modification”). Moreover, Hignight

   has not taken advantage of the mitigation measures available to him at FCI Texarkana. According

   to Hignight’s BOP Case Manager, Hignight routinely walks around the facility and chooses not


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   to wear the masks that are provided to him and is usually seen without one. Furthermore,

   contracting the virus while incarcerated, even in conjunction with preexisting health conditions,

   is insufficient to establish exceptional and compelling circumstances warranting compassionate

   release. See United States v. Jackson, No. 3:16-CR-196-L-1, 2020 WL 4365633, at *2 (N.D.

   Tex. July 30, 2020) (finding that the defendant had failed to present extraordinary and compelling

   reasons for compassionate release despite suffering from previous underlying health conditions and

   testing positive for COVID-19).

          Courts have repeatedly denied COVID-19-based motions for compassionate release filed

   by inmates who, like Hignight, have already contracted and recovered from the virus. See, e.g.,

   United States v. Gipson, 829 F. App’x 780, 781 (9th Cir. 2020) (affirming denial of

   compassionate release for a defendant with preexisting conditions who had already contracted

   COVID-19); United States v. Marley, No. 16-CR-374 (VEC), 2020 WL 7768406, at *2

   (S.D.N.Y. Dec. 30, 2020) (“[A] defendant’s successful recovery from COVID-19 weighs against

   granting that defendant compassionate release.” (quoting United States v. Delorbe-Luna, No.

   18-CR-384, 2020 WL 7231060, at *2 (S.D.N.Y. Dec. 7, 2020))); United States v. Stockman, No.

   H-17-116-2, 2020 WL 5269756, at *3 (S.D. Tex. Aug. 26, 2020) (noting that when an inmate is

   infected and recovers from COVID-19, the courts have found the risks of infection or severe

   symptoms or effects because of underlying conditions change and diminish); United States v.

   Baker, No. CR 16-179, 2020 WL 4584195, at *4 (E.D. La. Aug. 10, 2020) (“Courts have denied

   COVID-19-based motions for compassionate release filed by inmates who have already contracted

   the virus.”); United States v. Shrout, No. 15-CR-438, 2020 WL 3483703, at *4 (D. Or. June 26,




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   2020) (“[Defendant] has already contracted COVID-19 and, crucially, the BOP has properly

   managed the disease.”).

          Moreover, the BOP is in the process of administering the COVID-19 vaccine to inmates

   and staff. According to the Government, the BOP has offered a vaccine to every inmate in

   BOP-managed institutions. To date, the BOP has administered approximately 246,259 doses of

   the vaccine. According to www.bop.gov, FCI Texarkana, where the defendant is housed, has

   fully inoculated 910 inmates and 158 staff members. Hignight’s BOP medical records, however,

   reflect that he refused the Johnson & Johnson/Janssen vaccine on April 13, 2021, without any

   suggestion that it was medically contraindicated. Notably, courts have denied compassionate

   release where, as here, the inmate has refused the COVID-19 vaccine. See United States v.

   Greenlaw, No. 1:18-CR-00098-JAW-06, 2021 WL 1277958, at *7 (D. Me. Apr. 6, 2021) (“To

   reward [the defendant] for his vaccination refusal would create a perverse incentive for defendants

   like [the defendant] to refuse COVID-19 vaccines and put their lives and the lives of others in

   jeopardy in an effort to bolster their compassionate release motions.”); United States v. Pruitt, No.

   3:14-CR-0384-B-1, 2021 WL 1222155, at *3 (N.D. Tex. Apr. 1, 2021) (finding that the defendant

   “cannot refuse the vaccine to prevent against COVID-19 on the one hand and then argue for

   compassionate release because he faces an increased risk of severe illness or death should he

   contract COVID-19 on the other hand”); United States v. Jackson, No. CR 07-40-2, 2021 WL

   1145903, at *2 (E.D. Pa. Mar. 25, 2021) (holding that because the defendant refused the COVID-

   19 vaccine, she “voluntarily declined to ‘provide self-care’ and mitigate her risk of a severe

   COVID-19 infection”); United States v. Austin, No. 15-20609, 2021 WL 1137987, at *2 (E.D.

   Mich. Mar. 25, 2021) (“Defendant cannot establish that his conditions are exceptional and demand


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   immediate release when he intentionally prevents the BOP from mitigating dangers to his health

   and safety.”); United States v. King, No. 16-CR-478-11 (CS), 2021 WL 736422, at *2 (S.D.N.Y.

   Feb. 24, 2021) (“In declining vaccination[, Defendant] declined the opportunity to reduce his risk

   [of] exposure to COVID-19 dramatically; he cannot reasonably expect that prolonging his risk by

   declining vaccination will be rewarded with a sentence reduction.”); accord United States v.

   Braxton, No. 4:16-CR-117, 2021 WL 1721741, at *5 (E.D. Tex. Apr. 30, 2021). Similarly,

   Hignight cannot be heard to complain about the dangers of COVID-19 in prison and then fail to

   take the available measures to mitigate the risk, such as being vaccinated and wearing a mask.

          D.      Rehabilitation

          Hignight further maintains that his post-sentence rehabilitation, evidenced by the courses

   he has taken and the programs he has completed establishes extraordinary and compelling reasons

   for compassionate release. While the court may consider rehabilitation efforts, “[r]ehabilitation

   of the defendant alone shall not be considered an extraordinary and compelling reason.” 28

   U.S.C. § 994(t); see Shkambi, 993 F.3d at 392; United States v. Brooker, 976 F.3d 228, 237-38

   (2d Cir. 2020) (holding that a district court’s discretion in sentencing is broad; however, there is

   a “statutory limit on what a court may consider to be extraordinary and compelling . . . [and]

   ‘[r]ehabilitation . . . alone shall not be considered an extraordinary and compelling reason.’”

   (quoting 28 U.S.C. § 994(t))); United States v. Hudec, No. CR 4:91-1-1, 2020 WL 4925675, at

   *5 (S.D. Tex. Aug. 19, 2020) (“While the Court is permitted to consider post-sentencing

   rehabilitation in determining whether to grant an eligible defendant a sentence reduction, it is not

   authorized to grant a reduction based upon post-sentencing rehabilitation alone.”); cf. United

   States v. Whitehead, 986 F.3d 547, 551 (5th Cir. 2021) (upholding the denial of a sentence


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   reduction from a life sentence and finding that the court may, but is not required, to consider a

   defendant’s post-conviction rehabilitative efforts when evaluating a motion for reduction under

   § 404 of the First Step Act). Moreover, according to Probation, Hignight incurred a disciplinary

   infraction on February 1, 2021, for possessing drugs/alcohol in which he admitted to the violation

   when he was found in possession of homemade intoxicants. Accordingly, Hignight’s behavior

   while incarcerated dispels the notion that he has reformed.

          Thus, although Hignight lists a number of commendable achievements and laudable goals,

   he has not presented sufficiently extraordinary and compelling accomplishments or circumstances

   to merit compassionate release under the facts of this case. See United States v. Lewis, No. 17-

   CR-28-FPG, 2021 WL 4519795, at *3 (W.D.N.Y. Oct. 4, 2021) (finding defendant’s efforts at

   rehabilitation and plans to start a new life elsewhere to be commendable and recognizing the

   unusual burdens he faced in prison but finding those considerations not to undermine the factors

   that led to his original sentence—his offense, his criminal history, and the need for deterrence);

   United States v. Boyd, No. 3:17-CR-37-TAV-DCP-4, 2021 WL 4497476, at *4 (E.D. Tenn. Sept.

   30, 2021) (the court, while recognizing defendant’s efforts to improve himself, did not find his

   rehabilitation efforts to be so extraordinary as to outweigh the other sentencing factors); United

   States v. Willsey, No. 3:00-cr-00438-HZ, 2021 WL 4462889, at *2 (D. Ore. Sept. 28, 2021)

   (although finding defendant’s steps toward rehabilitation to be laudable, the court ruled that they

   did not present an extraordinary circumstance that would justify compassionate release,

   particularly given the seriousness of his offenses of conviction including multiple counts of armed

   bank robbery); United States v. Rounds, No. 10-CR-239S (2), 2021 WL 4437170, at *4

   (W.D.N.Y. Sept. 28, 2021) (commenting that defendant’s efforts at rehabilitating himself were


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   laudable and should be continued, but concluding that they did not alone or in combination with

   his other arguments constitute an extraordinary and compelling reason for compassionate release).

   Similarly, the court hopes that Hignight will continue on the path to rehabilitation, but declines

   to exercise its discretionary authority under § 3582 at this time based on either his circumstances

   or his rehabilitation efforts. See Lewis, 2021 WL 4519795, at *3.

          E.      Section 3553(a) Factors

          The court further finds that compassionate release is not merited in light of the applicable

   factors set forth in 18 U.S.C. § 3553(a). See 18 U.S.C. § 3582(c)(1)(A) (requiring courts to

   consider the § 3553(a) factors before granting compassionate release); United States v. Shorter,

   850 F. App’x 327, 328 (5th Cir. 2021) (finding that the court did not abuse its discretion in

   denying compassionate release after balancing the 3553(a) factors); Keys, 846 F. App’x at 276;

   Shkambi, 993 F.3d at 392; Thompson, 984 F.3d at 435 n.11 (collecting cases); United States v.

   Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020). Hignight’s offense of conviction entails his

   participation in a drug-trafficking conspiracy involving the distribution of between 500 grams and

   1.5 kilograms of a mixture or substance containing a detectable amount of methamphetamine or

   between 50 and 150 grams of methamphetamine (actual). He supplied coconspirators with

   multi-gram quantities of methamphetamine for distribution to others and sold methamphetamine

   to a confidential source in controlled buys on several occasions. Methamphetamine and drug

   paraphernalia were discovered in his vehicle during a traffic stop, and methamphetamine, digital

   scales, as well as assorted tablets of prescription drugs were seized during the execution of a

   search warrant at his residence. Moreover, he was on state bond awaiting trial for manufacture

   and delivery of a controlled substance when he was arrested for his offense of conviction upon his


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   arrival at a coconspirator’s hotel room to buy methamphetamine. In total, Hignight was held

   responsible for 2.912 to 4.032 kilograms of methamphetamine as part of the conspiracy.

          Furthermore, Hignight has an extensive criminal history, which includes prior convictions

   for vehicle theft, possession of a controlled substance with intent to deliver methamphetamine in

   a drug free zone (2), assault, engaging in organized criminal activity, possession of drug

   paraphernalia, conspiracy to manufacture or distribute methamphetamine, and manufacture and

   delivery of a controlled substance. Hignight also has a history of poly-substance abuse dating

   from age 12, including the use of alcohol, marijuana, methamphetamine, and Xanax. He became

   addicted to methamphetamine at age 40 and is currently diagnosed as having a severe stimulant

   related disorder related to amphetamine. Therefore, the court cannot conclude that Hignight’s

   early release from prison would afford adequate deterrence or protect the public, as he continues

   to pose a danger to other persons and to the community as a whole.

          In these circumstances, granting Hignight compassionate release would fail to provide just

   punishment for his offense and promote respect for the law. In Chambliss, the Fifth Circuit

   upheld the denial of compassionate release due to the defendant’s not yet having served a sufficient

   portion of his sentence. 948 F.3d at 694. The district court determined that the defendant’s

   terminal illness “constitut[ed] ‘an extraordinary and compelling reason for a sentence reduction’

   and that he ‘[did] not present a danger upon release,’” but denied release because “releasing [the

   defendant] after serving only 14 years of a 30-year sentence minimizes both the impact of [the

   defendant’s] crime and seriousness of the offense.” Id. at 693-94. “Moreover, the [district] court,

   citing the § 3553(a) factors, determined that requiring [the defendant] to serve the remainder of

   his sentence would ‘provide just punishment for the offense’ and ‘afford adequate deterrence to


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   criminal conduct.’”    Chambliss, 948 F.3d at 693-94; see Thompson, 984 F.3d at 434-35

   (observing that the courts that have granted compassionate release “largely have done so for

   defendants who had already served the lion’s share of their sentences and presented multiple,

   severe, health concerns”). In the instant case, releasing Hignight after he has served only 69

   months (or approximately 30%) of his 262-month sentence would similarly minimize the impact

   of his crime and the seriousness of his offense as well as fall short of providing just punishment

   and adequate deterrence to criminal conduct.

          As the court noted in United States v. Preston, “[t]he best predictor of how [Defendant]

   will behave if he were to be released is how he behaved in the past, and his track record is a poor

   one.” No. 3:18-CR-307-K, 2020 WL 1819888, at *4 (N.D. Tex. Apr. 11, 2020) (quoting United

   States v. Martin, 447 F. Supp. 3d 399, 403 (D. Md. 2020)). Here, Hignight’s track record is

   similarly a poor one. There is no reason to believe that Hignight would not revert to drug-dealing

   and drug-abusing activities if released from prison at this time.

          Furthermore, it is well settled that “compassionate release is discretionary, not

   mandatory.” Chambliss, 948 F.3d at 693. Where, as here, a prisoner has engaged in “severe”

   criminal conduct and has a significant criminal history, the district court has discretion to deny

   compassionate release under the circumstances. Id. at 693-94; accord Keys, 846 F. App’x at 276

   (finding that Defendant’s argument that the court gave too much weight to his criminal history,

   “amount[ed] to a mere disagreement with the court’s balancing of the § 3553(a) factors, which is

   not a sufficient ground for reversal”). Probation, after considering Hignight’s documented

   medical prognoses showing no indicators of the immediate onset of any physical threats regarding

   his health concerns, his obvious failure to exercise simple precautions against the threat of


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   contracting COVID-19, and the minimal likelihood of contracting the COVID-19 virus within the

   unit at the current time, along with his role in the instant offense, his pattern of similar ongoing

   criminal behavior despite lengthy prison time, and the length of his sentence versus the minimal

   time he has served, recommends the denial of Hignight’s motion. In exercising its discretion, the

   court concurs with Probation’s analysis and concludes that Hignight has failed to establish that his

   medical condition, his age, his efforts at rehabilitation, the presence of COVID-19, or other

   reasons constitute extraordinary and compelling reasons to release him from imprisonment at this

   time.

   II.     Conclusion

           Consistent with the foregoing analysis, Hignight’s pro se Motion for Compassionate

   Release (#215) is DENIED.

           SIGNED at Beaumont, Texas, this 12th day of November, 2021.




                                               ________________________________________
                                                           MARCIA A. CRONE
                                                    UNITED STATES DISTRICT JUDGE




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